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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

TAYLOR THEUNISSEN, M.D., LLC

                             Plaintiff,                Case No.: 3:18-cv-00606-JAM

               v.

UNITED HEALTHCARE GROUP, INC.,
CHENIERE ENERGY, INC., JOHN
AND JANE DOES 1-10 and ABC
CORPORATIONS 1-10,
                                                       OCTOBER 31, 2018
                             Defendants.


                     MEMORANDUM OF LAW IN SUPPORT OF
                DEFENDANTS'
                DEFENDANTS’ SUPPLEMENTAL MOTION TO DISMISS

         Defendants, UnitedHealth Group, Inc. s/h/a United Healthcare Group, Inc. ("UHG")
                                                                                  (“UHG”) and

Cheniere Energy, Inc. ("Cheniere")
                      (“Cheniere”) respectfully submit this Memorandum of Law in support of

their Joint Supplemental Motion to Dismiss Counts Five through Eight of Plaintiff, Taylor

Theunissen, M.D., LLC's
                  LLC’s Amended Complaint based on additional evidence discovered after the

initial filing of UHG's
                  UHG’s Motion to Dismiss. Specifically, the Master Cheniere Plan document

contains an anti-assignment clause which, as will be discussed below, precludes Plaintiff

from pursuing any cause of action against the Defendants as an assignee of benefits under the

Cheniere Plan. UHG did not have this document at the time it filed its original Motion to

Dismiss and was therefore unaware of the anti-assignment clause at the time of its original

motion. The Master Plan Document also includes a one year limitation of action clause that

        Plaintiff’s action untimely as against both Defendants.
renders Plaintiff's

         Defendants respectfully request that the Court consider these additional grounds for

                                                   Defendants’ initial motions to dismiss were
dismissal, which were not apparent at the time the Defendants'

filed.
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        I.       ARGUMENT

                    a. Any Purported Assignment of Benefits is Null and Void

       Plaintiff alleges that it received a valid assignment of its patient's
                                                                    patient’s benefits under the Plan.

                    ¶¶ 9, 60). Providers can gain standing to sue under ERISA by obtaining
(Amended Complaint 'IrIf

valid assignments from their patients of benefits available under their health plans, if the plans

                    Prof’l Orthopaedic Assocs., PA v. 1199SEIU Nat'l
permit assignments. Prof'l                                     Nat’l Benefit Fund, 697 F.

App'x
App’x 39, 40 (2d Cir. 2017) ("To
                            (“To proceed in the shoes of a beneficiary, the assignee must show

that there is a valid assignment that comports with the terms of the benefits plan.").
                                                                              plan.”). However,

Plaintiff does not have a valid assignment of benefits in this case because, the Master Plan

                                         “[b]enfits under the Plan . . . cannot be assigned, sold,
Document here specifically provides that "[b]enfits

transferred, or encumbered, in whole or in part, either directly or by operation of law or

otherwise, and any attempt to do so shall be null and void."
                                                      void.” A true and accurate copy of the

         Plan’s Master Plan Document is attached to the Declaration of Wayne Williams,
Cheniere Plan's

                                        Inc.’s Motion to Dismiss. Docket Entry No. 25. Thus,
attached to Defendant, Cheniere Energy, Inc.'s

because the Plan contains an anti-assignment clause, Plaintiff is precluded from pursuing any of

its ERISA claims (i.e. counts Five through Eight of the Amended Complaint).

                Plan’s Certificate of Coverage does permit UHG to direct payment directly to a
       Although Plan's

                subscriber’s written authorization, it does not transfer the subscriber's
provider with a subscriber's                                                 subscriber’s legal

rights under the plan. See Docket Entry No. 12, Attachment 1 ("If
                                                             (“If a Subscriber provides written

authorization to allow this, all or a portion of any Eligible Expenses due to a provider may be

paid directly to the provider instead of being paid to the Subscriber.”).
                                                           Subscriber."). By contrast, a valid

assignment of benefits irrevocably transfers to a provider the assigning patient's
                                                                         patient’s contractual legal

right to the benefits assigned. Assignments stand in sharp contrast to "direction
                                                                       “direction of payment"
                                                                                     payment”

clauses, which authorize the insurer to route the patient's
                                                  patient’s benefit payment directly to the

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                                        patient’s legal rights under the plan. MBody Minimally
provider, but which do not transfer the patient's

Invasive Surgery, P.C. v. United HealthCare Ins. Co., 2016 U.S. Dist. LEXIS 108598, at *21

n.10 (S.D.N.Y. Aug. 15, 2016) (noting that insurer "will
                                                   “will not be found to have waived anti-

assignment clauses by directly paying claims to [a provider] if the underlying plans expressly

                      payments”); see also MBody Minimally Invasive Surgery, P.C. v. Empire
permitted such direct payments");

Healthchoice HMO, Inc., No. 13 Civ. 6551 (TPG), 2014 U.S. Dist. LEXIS 114012, at *3

(S.D.N.Y. Aug. 15, 2014) ("Health
                         (“Health insurance companies routinely make direct payments to

                                                     provisions.”); Touro Infirmary v. Am. Mar.
healthcare providers without waiving anti-assignment provisions.");

Officer, No. 07-1441, 2007 WL 4181506, at *6 (E.D. La. Nov. 21, 2007) (distinguishing

                                        “clause [that] simply authorizes direct payment to [the
between an assignment of benefits and a "clause

provider] and makes the patient responsible for any charges not paid by the patient's
                                                                            patient’s health

plan.”).
plan.").

       Here, the Master Plan Document clearly does not permit subscribers to assign their legal

rights to Plan benefits to providers, but rather, at most permits a direction of payment. "District
                                                                                          “District

courts in this Circuit . . . have found that where plan language unambiguously prohibits

assignment, an attempted assignment will be ineffectual. . . [and] . . . a healthcare provider who

has attempted to obtain an assignment in contravention of a plan's terms is not entitled to recover

under ERISA.”
      ERISA." Merrick v. UnitedHealth Grp., Inc., 175 F. Supp. 3d 110, 119 (S.D.N.Y. 2016)

(internal citations and quotations omitted); see also Mbody Minimally Invasive Surgery, P.C.,

2014 U.S. Dist. LEXIS 114012, at *3 (finding the anti-assignment provision, which stated that

“any attempt to assign benefits or payments for benefits will be void"
"any                                                             void” was unambiguous and

thus, the plaintiffs' alleged assignments were invalid); AvuTox, LLC v. Cigna Health & Life Ins.

Co., No. 5:17-CV-250-BO, 2017 WL 6062257, at *3 (E.D.N.C. Dec. 7, 2017) ("In
                                                                        (“In order for an

assignment under ERISA to be valid, it must be express. The language of the consent/insurance

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release relied on by plaintiff as the assignment of benefits is more properly construed as a

payment authorization. A payment authorization, without more, is not an assignment of benefits

for purposes of ERISA.”)
                ERISA.") (internal citation omitted); Peterson v. UnitedHealth Group, Civil No.

14-cv-02101-PJS-BRT, ECF No. 56 (D. Minn., Jan. 23, 2015) (dismissing provider-plaintiffs'
                                                                      provider-plaintiffs’

ERISA claims because "the
                     “the authorization signed by each patient of plaintiff . . . does not assign

    patient’s right to receive benefits . . . but merely gives defendants permission to pay the
the patient's

patient’s benefits directly to [Plaintiff].").
patient's                      [Plaintiff].”).

        Because the Plan expressly prohibits assignments of benefits, Counts Five through Eight

must be dismissed.

                    b. Count Five Must be Dismissed Because Plaintiff's
                                                            Plaintiff’s Suit is Untimely

        The Master Plan Document also prohibits claimants from commencing a civil action with

respect to a claim for benefits before administrative remedies have been exhausted and further

contains a limitation of actions period of one year from the date the claimant exhausts his or her

administrative remedies. Specifically Article V, Section 5.5 of the Master Plan Document

provides:

        A civil action under ERISA Section 502(a) may not be filed with respect to a
        claim for benefits under the Plan or a Component Plan until the claims and
        appeals procedures of Section 5.3 have been satisfied. The civil action may not
        be brought after the date that is one year after the date that the final decision under
        Section 5.3(a)(iv), Section 5.3(b)(iv) or Section 5.3(c)(iv), as applicable, is made
        with respect to the claim.

(See Docket Entry No. 25-2). Plaintiff's
                             Plaintiff’s claims in this matter concern claims for services

rendered on August 22 and November 30, 2016. (Amended Complaint ¶
                                                                ¶ 30). Plaintiff did not

commence this action until April 9, 2018. (Docket Entry No. 1). Plaintiff has not alleged that it

filed any appeals or that administrative exhaustion occurred. Failure to exhaust administrative

remedies is itself grounds for dismissal. See Kennedy v. Empire Blue Cross & Blue Shield, 989



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F.2d 588, 589 (2d Cir. 1993). Regardless, the filing of this action in 2018 is not timely and thus,

Plaintiff’s count five should be dismissed against both Defendants on this ground as well.
Plaintiff's

       II.     CONCLUSION

                                                    Defendants’ Motions to Dismiss and for the
       For any and all of the reasons stated in the Defendants'

supplemental reasons stated herein, Defendants respectfully request that the Court grant their

Motion to Dismiss the Amended Complaint in its entirety.




                                                  Respectfully submitted,

                                                  DEFENDANTS
                                                  UNITEDHEALTH GROUP, INC. S/H/A
                                                  UNITED HEALTHCARE GROUP, INC. and
                                                  CHENIERE ENERGY, INC.

                                                  By:      /s/Kelly Frye Barnett         .
                                                          Michael H. Bernstein (ct28178)
                                                          Kelly Frye Barnett (ct29817)
                                                          Robinson & Cole LLP
                                                          280 Trumbull Street
                                                          Hartford, CT 06103
                                                          Tel: (860) 275-8200
                                                          Fax: (860) 275-8299
                                                          Email:mbernstein@rc.com;
                                                          kbarnett@rc.com




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                                      Certificate of Service

       I hereby certify that on October 31, 2018, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

                                            Court’s electronic filing system or by mail on anyone
by email to all parties by operation of the Court's

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

                               Court’s CM/ECF System.
access this filing through the Court's




                                             By:     /s/Kelly Frye Barnett                       ..
                                                     Kelly Frye Barnett




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